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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
LHE:TH/JRS                                         271 Cadman Plaza East
F. #2019R01680                                     Brooklyn, New York 11201



                                                   May 24, 2022


By ECF and Email

The Honorable Robert M. Levy
United States Magistrate Judge
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Somorie Moses
                      Criminal Docket No. 22-232 (CBA)

Dear Judge Levy:

              The government respectfully submits this letter in support of its motion for a
permanent order of detention as to the defendant Somorie Moses. As further described
below, the defendant poses a significant danger to the community and is a flight risk, and no
combination of conditions of release can assure the safety of the community and his
appearance at court proceedings.

I.      Background

                The defendant is charged by indictment with nine counts of sex trafficking, in
violation of Title 18, United States Code, Section 1591, and murder in the course of sex
trafficking, in violation of Title 18, United States Code, Section 2245.

                For over a decade, the defendant forced women and girls, including minors,
into prostitution for his benefit in Brooklyn and Queens, and used extreme physical and
sexual violence to ensure compliance with his orders. In January 2017, the defendant beat
one of his victims, Leondra Foster, until she died. The following morning, using a knife and
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saw, he dismembered her body inside their shared apartment in Brooklyn, before disposing
of her body in the Bronx four days later. 1

II.      The Bail Reform Act

               Under the Bail Reform Act, Title 18, United States Code, Sections 3141, et
seq., federal courts “shall” order a defendant’s detention pending trial upon a determination
that “no condition or combination of conditions would reasonably assure the appearance of
the person as required and the safety of any other person and the community[.]” 18 U.S.C.
§ 3142(e). A finding of risk of dangerousness must be supported by clear and convincing
evidence and a finding of risk of flight must be supported by a preponderance of the
evidence. See United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985).

               In cases like this one, charging an offense under Title 18, United States Code,
Section 1591 involving a minor victim, “it shall be presumed,” subject to rebuttal by the
defendant, “that no condition or combination of conditions will reasonably assure the
appearance of the person as required and the safety of the community.” 18 U.S.C.
§ 3142(e)(3)(E). A presumption of dangerousness and risk of flight is also applicable
pursuant to 18 U.S.C. § 3142(e)(3)(D) because Section 1591 is an offense under chapter 77
of Title 18 with a maximum term of imprisonment of 20 years or more. See id.
§ 3142(e)(3)(D).

               The presumption means that the Court must initially assume there is “no
condition or combination of conditions that will reasonably assure the appearance of the
person as required and the safety of any other person and the community.” Id. The
defendant must come “forward with evidence that he does not pose a danger to the
community or a risk of flight.” United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001).
Even if the defendant were to meet his burden of production, “the presumption favoring
detention does not disappear entirely, but remains a factor to be considered among those
weighed by the district court.” Id.

              Whether detention is sought on the basis of flight or dangerousness, the Bail
Reform Act lists four factors to be considered in the detention analysis:

               (1)    “the nature and circumstances of the offense charged. . .”;

               (2)    “the weight of the evidence against the person”;



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              The defendant was previously prosecuted for the murder of Foster, where he
was acquitted at trial in 2019 of the murder and convicted of criminally negligent homicide
and concealment of a corpse, and was sentenced to four to eight years in prison. The
defendant is currently in state custody, but is eligible to be released on parole as early as
tomorrow.


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              (3)      “the history and characteristics of the person, including
              . . . the person’s character, . . . past conduct, . . . [and] criminal
              history, and record concerning appearance at court proceedings”;
              and

              (4)    “the nature and seriousness of the danger to any person or
              the community that would be posed by the person's release.”

18 U.S.C. § 3142(g).

                The concept of “dangerousness” encompasses not only the effect of a
defendant’s release on the safety of identifiable individuals, such as victims and witnesses,
but also “‘the danger that the defendant might engage in criminal activity to the detriment of
the community.’” United States v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting
legislative history).

              The government is entitled to proceed by proffer in a detention hearing.
United States v. Abuhamra, 389 F.3d 309, 320 n.7 (2d Cir. 2004); United States v.
LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000); United States v. Martir, 782 F.2d 1141,
1145 (2d Cir. 1986).

III.   Somorie Moses Should Be Detained Pending Trial

               As noted above, there is a presumption that there are no conditions of release
that can reasonably assure the defendant’s appearance and the safety of the community. See
18 U.S.C. §§ 3142(e)(3)(D) and (E); see, e.g., United States v. Andrews, No. 19-CR-131
(PAE), 2020 WL 3182911, at *1 (S.D.N.Y. June 15, 2020) (presumption applies in all
§ 1591 cases); United States v. Epstein, 425 F. Supp. 3d 306, 313 (S.D.N.Y. 2019) (“A 18
U.S.C. § 1591 case involving sexual victimization of a minor is unusual in that it includes a
presumption in favor of pretrial detention, reflecting the significant harm caused by such a
crime.”). The defendant cannot rebut such a presumption, regardless of any bail package that
may be proposed, because the relevant considerations under the Bail Reform Act clearly
support a finding of dangerousness and risk of flight.

              Nature and Circumstances of the Crimes Charged and Evidence of Guilt

               The nature and circumstances of the crimes charged are extraordinarily serious
and reflect the danger the defendant poses to the community. Since at least 2003, the
defendant used false promises of love, marriage, and a better life to initiate sexual
relationships with women and girls, some of whom were minors, before demanding that they
work as prostitutes for his benefit. The defendant used brutal beatings, rape, torture and
threats in order to force his victims to work in prostitution in Brooklyn and Queens and to
ensure that they complied with his orders. Moses pressured many of his victims into getting
his first name, “Somorie,” tattooed on their bodies.




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               Moses used extreme violence against his victims. For example, when one
victim refused to engage in prostitution, Moses used a taser against her until she complied.
Moses slashed another victim’s arms and back with a razor and beat her with a belt before
pouring lemon juice on her wounds, leaving her permanently scarred. When another victim
did not do as Moses had ordered, he beat her with an extension cord and threatened to rub
salt in her wounds. When another victim told Moses she did not want to work as a prostitute,
he put a shotgun in her mouth and threatened to kill her and her child.

               In the early morning of January 13, 2017, Moses murdered Leondra Foster,
one of his sex trafficking victims, by beating her to death. The following morning, using a
knife and a saw, Moses dismembered Foster’s body inside their shared apartment in
Brooklyn, New York. Four days later, on the morning of January 17, 2017, Moses brought
Foster’s torso and limbs to the Bronx for disposal at a sanitation site. Foster’s head, hands
and feet — including a foot with the name “Somorie” tattooed on it — were subsequently
recovered by law enforcement inside the deep freezer of Moses’s apartment.

               The evidence of the defendant’s guilt is very strong. The government intends
to prove the defendant’s guilt at trial through, among other sources of evidence, the
testimony of numerous witnesses and victims, medical records and autopsy reports, text
messages, and recorded phone calls. The government expects that numerous victim-
witnesses will testify regarding brutal beatings, threats of violence, rape and psychological
manipulation they endured at the hands of the defendant. 2 In addition, following his arrest,
the defendant confessed to the murder of Foster to at least two individuals. Although this
evidence was not available at the defendant’s prior state trial, the government intends to
introduce witness testimony regarding those confessions at trial in this case.

              Moses Poses a Danger to the Community and a Risk of Flight

               The government submits that the defendant poses a serious danger to the
community. For over a decade, as described in detail supra, the defendant used extreme
physical and sexual violence, threats, and force to coerce his victims into working in
prostitution. The extent of the defendant’s manipulation and control is demonstrated by his
insistence that many of his victims get his name, “Somorie,” tattooed on their bodies. If
released, the defendant poses a risk to numerous victims and witnesses, including many who
have expressed significant concerns for their safety.

               In addition, if convicted at trial, the defendant faces a mandatory minimum
sentence of 15 years and a potential sentence of life in prison or death, which creates a
substantial incentive to flee. See United States v. Jackson, 823 F.2d 4, 7 (2d Cir. 1987);
Martir, 782 F.2d at 1147 (defendants charged with serious offenses whose maximum

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              The defendant testified in his own defense at his state trial, during which he
acknowledged that he made a living as a “pimp” and had done so for two decades. The
defendant also admitted that he “smacked [Foster] around” and caused her to have “many . . .
black eyes.”


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combined terms created potent incentives to flee); United States v. Cisneros, 328 F.3d 610,
618 (10th Cir. 2003) (defendant was a flight risk because her knowledge of the seriousness of
the charges against her gave her a strong incentive to abscond); United States v. Townsend,
897 F.2d 989, 995 (9th Cir. 1990) (“Facing the much graver penalties possible under the
present indictment, the defendants have an even greater incentive to consider flight.”);
United States v. Dodge, 846 F. Supp. 181, 184-85 (D. Conn. 1994) (possibility of a “severe
sentence” heightens the risk of flight).

IV.    Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
enter a permanent order of detention as to defendant Somorie Moses.


                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney


                                          By:       /s/
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cc:    Counsel of Record




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